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            UNITEDSTATESDIBTRICTCOURT
                         FOR THE
            MIDDLE DISTRICT OF PENNSYLVANIA




JESUS CHRIST                           Case No. _ _ _ _ __
      PLAINTIFF

MICHAELSCOTI
SMlTII JR                                                          FILED
                                                               HARRISBURG, PA
          ESTATE
                                                                 JUL 11 2022
      V
                                                         PER     ..Ji~?..
                                                                   DEPUTY CLERK

COMMONWEAL1H OF                          FRANKLIN COUNTY
PENNSYLVANIA                            DISTRICT ATTORNJN
DEFENDENT                               DEFENDENT
DISTRICT COUNCIL 89                     FEDERAL RESERVE BANK
OF MIDDLE DISTRICT                      DEFENDENT
COMMONWEAL1H
PENNSYLVANIA MEMBERS,
DEFENDENT
FRANKLIN COUNTY
PRISON,
DEFENDENT
FRANKLIN COUNTY COURT
OF COMMON PLEAS 391H
DISTRICT OF COMMONWEAL1H
OF PENNSYLVANIA.
DEFENDENT

UNITED STATES OF
AMERICA.
DEFENDENT


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                             CLAIM lN EQUITY

Plaintiff, is named, Jesus Christ, a Person, GOD, the Eternal Resurected Spirit,
Tenent of Indigenous Land Estate MICHAEL SCOTT SMITH JR.

Plaintiff, is Witness of his own Testement, in the Names of the Triune, GOD,
Jesus Christ, Holy Spirit and did bequeth in his Last Testement, Documented in
the Seven Church's Holy Text, the right of all Lands, belonging to the God
Himself, Resurecting through Conception, fullfilling his Right as Heir and
Beneficiary , Executor over the Indigenous Land Estate, MICHAEL SCOTT
SMITH JR.

Plaintiff is the Life Tenent, Occupant, Inhabitant of the Estate MICHAEL SCOTT
SMITH JR.

Social Security Identification Number-        -7920

FRANKLIN COUNTY PRISON ID- 21-00356

Plaintiffs correspondence address is , MICHAEL SCOTT SMITH JR , c/o
FRANKLIN COUNTY PRISON, 1804 Opportunity Ave, Chambersburg PA,
17201.

Plaintiff, resides as tenet of Estate, and is in the Jurisdiction of the UNITED
STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF THE
COMMONWEALTH OF PENNSLVANIA.



DEFENDENTS:

Defendent, COMMONWEALTH OF PENNSYLVANIA is within the Jurisdiction of
the UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, DISTRICT COUNCIL 89 OF THE COMMONWEALTH OF
PENNSYLVANIA MEMBERS is within the Jurisdiction of the UNITED STATES
DISTRICT COURT OF THE MIDDLE DISTRICT OF COMMONWEALTH OF
PENNSYLVANIA

Defendent, FRANKLIN COUNTY PRISON is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE ;DISTRICT OF
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COMMONWEALTH OF PENNSYLVANIA

Defendent, FRANKLIN COUNTY COURT OF COMMON PLEAS 39TH DISTRICT
OF THE COMMONWEALTH OF PENNSYLVANIA is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, UNITED STATES OF AMERICA is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, FRANKLIN COUNTY DISTRICT ATTORNEY is within the Jurisdiction
of the UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, FEDERAL RESERVE BANK is within the UNITED STATES DISTRICT
COURT OF THE MIDDLE DISTRICT OF COMMONWEALTH OF
PENNSYLVANIA




                            CLAIM


PLAINTIFF , FILES TI---IIS CLAIM OVER TI-IE EST ATE MICHAEL SCOTT
SMITH JR.

PLAINTIFF HAS BEEN TENET OF THE NAMED ESTATE, SINCE THE BIRTH
OF THE INDIGENOUS LAND EST ATE, INFUSED INTO THE EMBRYO AT
THE LANDS CONCEPTION GIVING THE OFFSPRING ESTATE MICHAEL
SCOTT SMITH JR.

PLAINTIFF HOLDS FREEHOLD TITLE OF TI-IE EST ATE.

ALL CLAIMS AGAINST ESTATE , FOR ANY DEBT'S , TAXES, MONEY ,
ASSETS , PROPERTY , SERVICES OR CREDIT IN THE PERFORMANCE OF
OR AS A RESULT OF ANY OF THE DEFENDENTS OFFICIAL DUTIES FOR
ANY REASON FOR ANY ACTIVITIES IS NULL AND VOID.

PLAINTIFF HAS NOT CONVEYED, GRANTED, TRANSFERED ANY RIGI-IT
OR INTEREST TO ANY OF THE DEFENDENTS.


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THIS CLAIM IS A LEGAL LAWFUL CLAIM OF RIGHT AND INHEREIT ANCE
OF THE ESTATE, MICHAEL SCOTT SMITH JR.




THIS DOCUMENT IS I--IEREBY AFFIRMED UNDER THE PENALTY OF
PERJURY.




                                            RESPECTFULLY


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             UNITED STATES DISTRICT COURT
                          FOR THE
             MIDDLE DISTRICT OF PENNSYLVANIA




. JESUS CHRIST                         Case No. _ _ _ _ __
        PLAINTIFF

MICHAEL SCOTT                                                  FILED
SMITH JR                                                    HARRISBURG, PA

           ESTATE                                              JUL 11 2022
                                                        PER _ _']:>'Z
                                                                  _ _ _ _ __
       V
                                                              DEPUTY CLERK


COMM:ONWEALTH OF                         FRANKLIN COUNTY
PENNSYLVANIA                            DISTRICT ATTORNEY
DEFENDENT                                DEFENDENT
DISTRICT COUNCIL 89                     FEDERAL RESERVE BANK
OF l'v.1IDDLE DISTRICT                   DEFENDENT
COMM:ONWEALTH
PENNSYLVANIA MEMBERS,
DEFENDENT
FRANKLIN COUNTY
PRISON,
 DEFENDENT
FRANKLIN COUNTY COURT
OF COMMON PLEAS 39TH
DISTRICT OF COMMONWEALTH
OF PENNSYLVANIA,
 DEFENDENT

 UNITED STATES OF
 AMERICA.
 DEFENDENT



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                             PRAYER

                               FOR

                              REI.TEP


PARTIES:

PLAINTIFF:

 Plaintiff, is named, Jesus Christ, a Person, GOD, the Eternal Resurected Spirit,
Tenent of Indigenous Land Estate MICHAEL SCOTT SMITH JR.

Plaintiff, is Witness of his own Testement, in the Names of the Triune , GOD ,
Jesus Christ, Holy Spirit and did bequeth in his Last Testement, Documented in
the Seven Church's Holy Text, the right of all Lands, belonging to the God
Himself, Resurecting through Conception, fullfilling his Right as Heir and
Beneficiary, Executor over the Indigenous Land Estate, MICHAEL SCOTT
SMITH JR.

Plaintiff is the Life Tenent, Occupant, Inhabitant of the Estate MICHAEL SCOTT
SMITH JR.

Social Security Identification Number-        -7920

FRANKLIN COUNTY PRISON ID- 21-00356

Plaintiffs correspondence address is , MICHAEL SCOTT SMITH JR , c/o
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COMMONWEALTH OF PENNSLVANIA.




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DEFENDENTS:

Defendent, COMMONWEALTH OF PENNSYLVANIA is within the Jurisdiction of
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COMMONWEALTH OF PENNSYLVANIA.

Defendent, DISTRICT COUNCIL 89 OF THE COMMONWEALTH OF
PENNSYLVANIA MEMBERS is within the Jurisdiction of the UNITED STATES
DISTRICT COURT OF THE MIDDLE DISTRICT OF COMMONWEALTH OF
PENNSYLVANIA.

Defendent, FRANKLIN COUNTY PRISON is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, FRANKLIN COUNTY COURT OF COMMON PLEAS 39TH DISTRICT
OF THE COMMONWEALTH OF PENNSYLVANIA is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, UNITED STATES OF AMERICA is within the Jurisdiction of the
UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, FRANKLIN COUNTY DISTRICT ATTORNEY is within the Jurisdiction
of the UNITED STATES DISTRICT COURT OF THE MIDDLE DISTRICT OF
COMMONWEALTH OF PENNSYLVANIA.

Defendent, FEDERAL RESERVE BANK is within the UNITED STATES DISTRICT
COURT OFTHE MIDDLE DISTRICT OF COMMONWEALTH OF
PENNSYLVANIA.




COMPLAINT:



Plaintiff, Prays this Court for Relief, in the nature of placing a Barr and Estopple
against all defendent's who may or may not activily be engaging in use of Personal
Private Property, ofEstateNessel MICHAEL SCOTT SMITH JR, ESTATE

Plaintiff Prays this Court to Barr and Freez all claims against the EstateNessel for

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payment or usage of credits or interest of any kind and in any amount whether it be
for tax , fee or collection or charge or discharge by the Defendents.

Plaintiff Asserts and Avers that all usage of Estate's/ Vessel's in the nature for
Collateral, Debt's , or any other Finanicial Interest is Unauthorized, Involutary,
Unknowing by Plaintiff and Fiduciaries at no time have been Properly given,
granted, conveyed, Authorization to use the Estate's/ Vessel's, Money, Assets,
Property , Services or Credit in the performance of or as a result of their official
duties for any Reason for any Activities.

Plaintiff, is a Person, Jesus Christ, GOD. a Spirit, a Immortal Eternal living Soul,
Resurecter of the dead, "Embryo", " the Indigenous Land EstateNessel" and has
Perpetual Occupancy of the Human Being Indigenous Land Estate/ Vessel
MICHAEL SCOTT SMITH JR .

A Human Body is a Vessel under 18 U.S.C 7 ( 1 ).

A EstateNessel is a Tangible, a Artificial/ Fictious thing. ESTATE- A social
standing. 2). a social or political class of nobility, clergy and commons. 3). A person's
possessions. 4). A landed property. ( Marriam-webster Dictionary and theosaurus ).

ESTATE- The amount ,degree, nature and quality of a persons interest in land or
other property, esp a real estate interest that may become POSSESSORY, the
ownership being measured in terms of duration .. ( Blacks Law Dictionary, 11th Ed)

A Soul/ Spirit is a Person. SPIRIT- A life giving force. 2). PERSON. ( Marriam-
webster Dictionary and theosaurus ).

Plaintiff Asserts and Avers that he is the Person in Tenency of the Estate/ Vessel
and the Estate/ vessel is being held in Due Course for Commercial use, at the
Franklin County Prison under the Totalatrian Governship and Command of
Judicial Officer's of the COMMONWEALTH OF PENNSYLVANIA COURT OF
COMMON PLEAS 39th DISTRICT and FRANKLIN COUNTY DISTRICT
ATTORNEY. The COMMONWEALTH OF PENNSYLVANIA has no proper
Authority to the Estate/ Vessel.

Commercial use is in conjuction with the State of the COMMONWEALTH OF
PENNSYLVANIA, DISTRICT COUNCIL 89 MEMBERS OF THE
COMMONWEALTH OF PENNSYLVANIA OF THE MIDDLE DISTRICT.

COMMONWEALTH OF PENNSYLVANIA does not have a Title in Oringinal
conveying the right of ownership of the Property in it's possession.

Officers of the COMMONWEALTH OF PENNSYLVANIA COURT OF COMMON

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PLEAS 39th DISTRICT are Fiduciaries toward the public and by Law must protect
Estates in equity.

Judicial Officer's of the COMMONWEALTH OF PENNSYLVANIA COURT OF
COMMON PLEAS 39th DISTRICT has deliberatly withheld material information
from Plaintiff, relating to the right of Inheritance of Estate in tail.

Donnelly v. Dechristoforo, 1974, SCT 41709 56; 416 U.S. 637 ( 1947) McNally v.
U.S. 483 U .. S 483 U.S. 350, #71- 372 , Quoting U.S. v. Holtzer , 816 f. 2d, 304,
307 , .. Fraud in it's elementary common law sense of deceit ..... induces the
deliberate concealment of material information in a setting of Fiduciary obligation.
A official is a Fiduciary toward the public and if he deliberatly conceals material
information from them he is guilty of fraud.

Judicial Officer's of the COMMONWEALTH OF PENNSYLVANIA COURT OF
COMMON PLEAS 39th DISTRICT are learned officers of the law.

The FRANCHISE, BIRTH, and/or TRUST CERTIFICATE is a title of Birth of the
Estate/ Vessel.

Plaintiff is in Possession of Title of Birth and is the Rightful Heir of the Estate I
Vessel MICHAEL SCOTT SMITH JR.

UNITED STATES OF AMERICA, has frauduently withheld Plaintiff's Birthright to
Estate I Vessel for it's own personal use in Commerce, in conjuction with the
Uniform Commercial Code ( UCC) of 1969 for Commercial Enrichment.
                                   II
The transportation of Person's is Commerce within the provision's of Article 1 § 8
                                                II



of the UNITED STATES CONSTITUION.

President Franklin Delano Roosevelt declared a state of emergency in 1933, and at
the same time founded the Federal Deposit Insurance Corporation as well as
signing the Banking Act of 1933 also known as the Glass-Steagall Act.

State of emergency which was declared in 1933 was Suspposedly ended in 1976 by
the National Emergencies Act.

President Franklin Delano Roosevelt, also passed the Public Law No 1, Declaring
the People 14th Amenedment Citizens with the creation of the Birth Certificate and
declared the People a enemey of the Federal Government.

The Federal Government is not a Government but rather a Government of a
Corporation. The UNITED STATES OF AMERICA is a Corporation, Under Title 28
U.S.C. 3002 ( 15) (A), and is Incorporated as a for Profit Commercial Enterprise,

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pursuant to the Legislative Act of February 21, 1871, Forty- First Congress, Session
III , Chapter 62 , Page 419.

The FRANCHISE, BIRTH, and/or TRUST CERTIFICATE is the Plaintiffs
Birthright and Title of Property.

The UNITED STATES OF AMERICA has placed Plaintiffs, Property in a Special
Trust, Cestui Que , for the life of the Estate/ Vessel, held by the Federal Reserve
Bank, Pursuant to the Cestui que Vie Act of 1666

In 1933 the UNITED STATES OF AMERICA declared Chapter 11 Bankruptcy,
becoming Insolvent.

The UNITED STATES OF AMERICA has withheld the Plaintiffs Birthright of the
Estate/ Vessel, deliberatly, to convert itself a creditor and trustee conveying itself
the use of the Estate / Vessel as collateral , to save itself from total Bankruptcy,
allowing itself to Reorganize in the name of the Estate/ Vessel.

The Flags in Courtrooms are Gold-Fringed Military Flag of War, enforcing the
Private, general Equity, Admiraly/Maritime law.

Courtroons of today are under Military Occupation by Conquering Foreign Creditors
of the Federal Reserve/IMF and its Garrison Troops, the British Esquire of the
bench and the Bar Association, under Mission Statement. The term Mission
Statement is a Military designator and any Organization with a Mission Statement
is a Military unit. All 15 bureaus of the Puerto Rico, bassed Department of Treasury
including Tobacco and Firearms, all state tax agencies, and all Bar Association
operate under a Mission Statement. Which means Esquire, Judges, and Attorneys
are Military Officers of the Crown another front for Federal Reserve/IMF earring
out overall mission of the bar.



Whereas: The FRANCHISE, BIRTH, and/or TRUST CERTIFICATE was created
and offered fraudulently and deceitfully, supposedly to aid in the Census, as a
means of identification, to document a birth, and for health reason and purposes;
the true nature of the BIRTH CERTIFICATE has been used as a unrevealed
commercial agreement, an unconscionable adhesion contract with an Agency of the
federal, corporate United States, the Department of Commerce; the true nature of
the DATE OF BIRTH is to execute the birth of the certificate [by signing, filing and
recording], not the person;

WHEREAS: The BIRTH CERTIFICATE is a TRUST INSTRUMENT recorded with
County Recorder, a subsidiary of the Secretary of State [of the several states], sent
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to the Bureau of Census, a division of the Department of Commerce [Washington,
DC], placing the name on the BIRTH CERTIFICATE in commerce as a legal
"person" [e.g. corporate Trust] distinct and separate from the "Natural Person
Inhabitant of land Estates.

WHEREAS: The Secretary of the States [of the several states] issues and Charters
Corporations and Franchises, that any American Citizen with a BIRTH
CERTIFICATE is liable to the Franchise Tax Board of the State Department of
Revenue for income taxes, and the Federal UNITED STATES OF AMERICA for its
debt obligations to the Federal Reserve bank.

WHEREAS: This TRUST INSTRUMENT has deceived the " Person" Plaintiff into
an unrevealed contract attempting to place Estate / Vessel under the Jurisdiction of
the Federal UNITED STATES OF AMERICA with its tax and regulating authority
originating from the Department of Commerce, pursuant to the authority of the
Constitution for the United States of America [1789] and under the jurisdiction of
the Equity, Admiralty or Maritime Jurisdictions of the federal court system; and the
UNIFORM COMMERCIAL CODE [UCC] of 1969.

COMMONWEALTH OF PENNSYLVANIA COURT OF COMMON PLEAS 39th
DISTRICT Judicial Officers and the District Attorney's Office has Controlled the
Plaintiffs Estate/ Vessel without Lawful Jurisdiction and without Proper
Delegation. All Parties , Do Not Have Title to Paintiffs Property.

Plaintiff is in Possesion of Title, However has been deceived by the UNITED
STATES OF AMERICA, whereas Plaintiff was unaware untill becoming
knowledgable of the Law and the Decite and Fraud upon the COMMONWEALTH
OF PENNSYLVANIA COURT OF COMMON PLEAS 39th DISTRICT Judicial
Officers and FRANKLIN COUNTY DISTRICT ATTORNEY attempting to Transfer
Plaintiffs Property into it's care by useing Oppressive tactics in a NON
STATUTORY Tribunal, useing a UNCONSTITUTIONAL CRIMINAL CODE in a
Equity, Admiralty and Maritimes Jurisdiction.

                                        PRAYER

                                         RELIEF

Plaintiff Appoint's the Officer of this Court to Protect the Interest of the Plaintiffs
Estate/ Vessel, and to Dissolve and Liquidate all the Trust's II Cestui Que Vie 11
Asset's and to Dissolve all Debt's, Encumberances, whether it be for Tax, Fee or
Collection or Charge or Discharge by the Defendents or any Party deemed to have
had any Liabilities in Connection of the Estate/ Vessel.


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Plaintiff Appoints the Officer of this Court , to Only Execute the Intention's of the
Heir, Beneficiary of the Estate/ Vessel MICHAEL SCOTT SMITH JR as Mentioned
in this PRAYER. Any other Action other than what Plaintiff Specified in this
Prayer, will be Null and Void. All Action's shall be brought to the Plaintiffs
attention before any action other than specified in this Prayer.

At no time has Plaintiff Granted, Conveyed, Transfered a Right or Interest to any
of the Defendent Parties, , to use the Estates Money , Assets , Property , Services or
Credit in the performance of or as a result of their official duties for any Reason for
any Activities.




THIS LAWFULL LEGAL PRAYER FOR RELIEF IS HEREBY AFFIRMED
UNDER THE PENALTY OF PERJURY.




                                                      RESPECTFULLY




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                                                      JESUS CHRIST
                                                              'J01Q. 1,   ,aoaa_




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